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NOR-036393

UNlTED STATES D|STR|CT COURT, SOUTHERN DlSTRlCT OF FLOR|DA
FORT PlERCE DlVlSlON

lFAE |NTERNAT|ONAL F|NE ARTS CASE NO. O3-14309-ClV-GRAHAM
EXPOS|T|ONS, |NC., f/k/a LESTER l\/lagistrate Lynch z
EXPOS|T|ONS, |NC., <* ’.' `

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Plaintiff, l %
vs. "'_’,: ~_ ,/
DAer MoRRisiNTERNATioNAL .`;~' :g
and NonvicH uNioNleuRANcE -£; ‘C-"}`
LuvnTED, o

Defendants

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MOTION TO COMPEL BETTER RESPONSES TO
DEFENDANTS’ REQUEST FOR PRODUCT|ON TO PLAlNT|FF

The Defendants move to compel better responses to Request for Production to
Plaintiff pursuant to the Fed.R.Civ.P. Rule 34 and 37, and in support of this motion state

as follows:

1. On May 28, 2004, the Defendants filed their Request for Production pursuant
to the Federal Rules of Civil Procedure.

2. On July 1 , 2004, Plaintiff filed Plaintiff’s Response to Request for Production,
to Which each of the nineteen (19) responses to the Request for Production stated, “[a]ll
documents responsive to this request, Which are not protected by attorney/client and/or
work product privilege, and are in the possession custody, or control of |FAE Will be
produced at the undersigned's office at a mutually convenient date and time." {j©

3. Counsel for the Plaintiff and Defendants agreed that rather than meeting at %

Plaintist counsel’s office, the responsive documents would be mailed.

4. On July 27, 2004, Plaintiff filed it’s Supplemental Response to Request for

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Production, to which the undersigned seeks more complete and thorough responses to the
May 28, 2004 Request for Production.

5. Pursuant to Rule 37(a)(3) of the Federal Rules of Civil Procedure, “...an
evasive or incomplete disclosure, answer, or response is to be treated as a failure to
disclose, answer, or respond.”

6. Additionally, Rule 37(a)(2)(B) states,

“...if a party, in response to a request for inspection submitted
under Rule 34,fai|s to respond that inspection will be permitted
as requested or fails to permit inspection as requested, the
discovering party may move for an order compelling an answer,
or a designation, or an order compelling inspection in
accordance with the request The motion must include a
certification that the movant in good faith conferred or
attempted to confer with the person or party failing to make the
discovery in an effort to secure the information or material
without court action."

7. Specifica||y, in paragraph number 6, Defendants requested “[a]ny contracts
between |FAE and various other exhibitors for the sole purpose of determining the
continuity of the language in lFAE’s contracts with other Lessees at the FAIR...", to which
Plaintiff responded, “[n]one in possession of this Defendant at this time." Aside from the
apparent underlined typographical error, Plaintiff did not raise an objection to the response
and has the ability to obtain the information relative to the request. ln its response of “at
this time", it is not clear as to whether Plaintiff has access to the items, but has not
obtained them yet or whether Plaintiff tried to obtain them and they are no longer available

8. Paragraph number 7 seeks “[a] true and correct copy of the executed

contract entered into between |FAE and METR|POL SECURITY, |NC. for security services

rendered at the FAlR." The Plaintiff has responded that the requested information is

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attached; however, no contract between the aforementioned entities is attached The only
documents attached are (1) the contract between Plaintiff and Defendants; (2) the Exhibit
Manual; and a Certificate of insurance issued for the ‘01 Pa|m Beach FAlR by Heath
Lambert Group.

9. As to paragraphs 9 and 10 of the Request for Production, Defendants seek
“[a]ny and all documentation, drawings, diagrams, maps photographs of videos indicating
the layout of the FAlR and the actual exhibit or plot number of the Defendant, DMl, as well
as the location of said exhibit or plot number AND ...the number of security cameras at the
FAlR, as well as the location and layout of the security cameras relative to DMl’s exhibit
or plot." Plaintiff also responded that the material was attached The Exhibit l\/lanual and
other two documents are not responsive to this question, thus there are no documents
attached and indicated in the Supplemental Response to Request for Production.

10. Paragraph12 requests, “[a]ny and all documentation indicating the protocol
or requirements security personnel for lVlETRlPOL were to follow in providing security to
Exhibitors or Lessees at the FAlR.” Again, Plaintiff states the documents are attached.
The Security provision enclosed in the Exhibit Manual is vague at best and non-responsive
to this request. Plaintiff has failed to identify whether this is the document provided
responsive to Defendants’ request Paragraph 13 requests “[a]ny and all documents from
|FAE to DM| containing warnings or recommendations to use private security personne|”.
Plaintiff has failed to identify which documents are responsive, aside from its assertion that
the requested information is attached

11. Paragraph 15 requests, “[c]opies of all policies of insurance which cover or
may cover |FAE for the loss in the subject occurrence.” The Plaintiff provided a one page

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Certificate of lnsurance through Heath Lambert Group, the rest of the policy is not
enclosed, nor are there other policies, if any.

12. Counsel for the Defendants has made numerous efforts to obtain the
information requested on May 28, 2004 and counsel for the Plaintiff was contacted on
August 17, 2004 to discuss these matters. Therefore, the undersigned certifies that a
“good faith” effort to resolve these issues without Court intervention was made.

WHEREFORE, the Defendants move for the entry of an Order compelling the
Plaintiff to provide more complete and thorough responses to the above-stated
discovery request.

CERT|F|CATE OF SERV|CE
WE HEREBY CERT|FY that a true and correct copy of the foregoing has

been furnished by U.S. Mai| on August Y , 2004 to: Rodney Janis, Esquire, Adams,
Coogler, Watson, Merkell Barry & Kel|ner, P.A., Attorneys for Plaintiff, P.O. Box 2069,
West Palm Beach, FL 33402-2069 and Mitchel| L. Lundeen, Esquire, Attorneys for David
Morris lntemationa|, George, Hartz, Lundeen & Fulmer, 4800 LeJuene Road, Coral
Gab|es, FL 33146.

BAZ|NSKY & KORMAN, P.A.

Attorneys for Defendants

7901 SW 6"‘ Court, Suite 450
Plantation, FL 33324

By: ,//2/%“_______"
MlCHAEL W. BAKER
Florida Bar No. 557943

